904 F.2d 702Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Lancelot WARD, Defendant-Appellant.
    No. 90-6015.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 22, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Albert V. Bryan, Jr., Chief District Judge.  (CR No. 82-109-A;  C/A No. 88-804-AM).
      Lancelot Ward, appellant pro se.
      Dennis Edward Szybala, Assistant United States Attorney, Alexandria, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Lancelot Ward appeals from the district court's order denying his motion for leave to file a late appeal.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Ward, CR No. 82-109-A;  C/A No. 88-804-AM (E.D.Va. Oct. 18, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    